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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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14                                          Case No. CV 20-00911-AB (RAOx)
     United African Asian Abilities Club
15   et al.,
16                   Plaintiffs,            ORDER DISMISSING CIVIL ACTION
17
     v.
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     Vida Elegante LLC, et al.,
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                     Defendants.
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           THE COURT having been advised by counsel that the above-entitled action has
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     been settled;
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           IT IS THEREFORE ORDERED that this action is hereby dismissed without
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     costs and without prejudice to the right, upon good cause shown within 60 days, to re-
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     open the action if settlement is not consummated.
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                                              1.
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1          This Court retains full jurisdiction over this action and this Order shall not
2    prejudice any party to this action.
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4
     Dated: June 30, 2020             _______________________________________
5                                     ANDRÉ BIROTTE JR.
6                                     UNITED STATES DISTRICT JUDGE

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